Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 1 of 17 PageID #: 16774




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Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 2 of 17 PageID #: 16775
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 3 of 17 PageID #: 16776
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 4 of 17 PageID #: 16777
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 5 of 17 PageID #: 16778
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 6 of 17 PageID #: 16779
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 7 of 17 PageID #: 16780
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 8 of 17 PageID #: 16781
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 9 of 17 PageID #: 16782
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 10 of 17 PageID #: 16783
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 11 of 17 PageID #: 16784
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 12 of 17 PageID #: 16785
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 13 of 17 PageID #: 16786
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 14 of 17 PageID #: 16787
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 15 of 17 PageID #: 16788
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 16 of 17 PageID #: 16789
Case 6:07-cv-00204-LED Document 291-31 Filed 03/15/10 Page 17 of 17 PageID #: 16790
